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                              UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

REC MARINE LOGISTICS, LLC        §                    C.A. NO. 2:19-cv-11149-LMA-DMD
                                 §
V.                               §
                                 §
DEQUINCY R. RICHARD              §                    SEC. “I”                MAG. (3)
                                 §
V.                               §
                                 §
REC MARINE LOGISTICS, LLC,       §
GULF OFFSHORE LOGISTICS LLC and  §
OFFSHORE TRANSPORT SERVICES, LLC §

         RICHARD’S MEMORANDUM IN SUPPORT OF MOTION TO COMPEL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         NOW INTO COURT, through undersigned counsel, comes Defendant/Counter/Third-Party

Plaintiff DeQuincy Richard (“Richard”), and respectfully moves this Honorable Court for an Order

compelling Plaintiff/Counter-Defendant REC Marine Logistics, LLC (“REC Marine”) to comply

with its discovery obligations imposed by the Federal Rules of Civil Procedure, as well as the

obligations imposed by the Court in its Order dated October 16, 2019 (Doc. 23), all as set forth

below:

                                       I. BACKGROUND

         On November 6, 2018, while Richard was performing his duties in the service of the Dustin

Danos, he sustained severe injuries on a vessel owned, operated, and/or crewed by REC Marine and

Third-Party Defendants Gulf Offshore Logistics LLC and Offshore Transport Services, LLC. On

the day of the incident, Richard was helping the captain tie-down the vessel at a platform in the Gulf

of Mexico. As he descended a set of defective metal stairs on the back of the vessel, the grating that
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comprised one of the steps shifted. As a result, Richard was thrown to the deck of the vessel, losing

consciousness on impact, and sustaining injuries to his head, neck, back and right shoulder.

        REC Marine filed this Complaint for Declaratory Relief on June 11, 2019. On August 8,

2019, Richard filed his Answer to the Complaint for Declaratory Judgment and asserted Counter-

Claims against REC Marine and Third Party Claims against Gulf Offshore Logistics LLC and

Offshore Transport Services, LLC, bringing claims for negligence, unseaworthiness of the vessel,

and maintenance and cure. (Rec. Doc. 4). On September 10, 2019, “Defendants”1 served their Initial

Disclosures. Ex. 1. The Disclosures identified a number of documents, including an “Incident

Report and attachments relating to 6th November 2018 reported incident on M/V Dustin Danos.”

Id. at p. 3. The Disclosures also listed other categories of documents on which“Defendants” intend

to rely in this matter. No documents were produced with the Initial Disclosure Response. A number

of witnesses were also identified, but “Defendants” failed to provide complete contact information

for them, including phone numbers. Additionally, “Defendants” failed to provide a copy of any

insurance policy.

        On October 2, 2019, Counsel for Richard emailed counsel for “Defendants” and requested

these documents be produced in accordance with the Federal Rules of Civil Procedure.

“Defendants” then provided an illegible copy of the referenced incident report. Ex. 2. No other

documents were received following this request. On October 3, 2019, counsel for Richard requested

a vessel inspection of the Dustin Danos. No dates were provided by counsel for REC Marine for this



        1
          The document produced is entitled “Defendants Initial W itness and Document Lists” and therefore named
“Defendants” in connection with this Motion. To clarify for the record, DeQuincy Richard is a Defendant,
Counter-Plaintiff and Third Party Plaintiff; REC Marine Logistics, LLC is a Plaintiff and Counter-Defendant, and
Gulf Offshore Logistics, LLC and Offshore Transport Services, LLC are Third Party Defendants.

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to occur. On October 16, 2019, the Court held a Status Conference wherein both the outstanding

disclosure documents and the requested vessel inspection were discussed with the Honorable Judge

Africk. The Court issued an Order following the Status Conference requiring in part:

       IT IS ORDERED that REC Marine Logistics, LLC shall provide DeQuincy R.
       Richard with initial disclosure requests by October 25, 2019.
       ***
       IT IS FURTHER ORDERED that the vessel inspection shall be completed no later
       than November 15, 2019, and that by October 25, 2019, REC Marine Logistics, LLC
       shall inform counsel for DeQuincy R. Richard of the time and dates when such
       inspection may occur.

(Rec. Doc. 23). Presumably in response to this Order, “Defendants” again served a Rule 26

Preliminary Report, but bizarrely provided even less contact information regarding witnesses. Ex.

3. “Defendants” again failed to provide a copy of the insurance coverage. Although some

documents were provided by REC Marine in response to this Order, it has still refused to provide

a legible copy of the Incident Report. REC Marine has also failed to provide inspection dates for

the necessary vessel inspection to occur.

                               II. ARGUMENT & AUTHORITY

       Discovery may be obtained about any matter that is not privileged and that is relevant to any

party’s claim or defense. Fed. R. Civ. P. 26(b)(1). The Federal Rules of Civil Procedure require

Initial Disclosures be produced, including “a copy–or a description by category and location–of all

documents, electronically stored information, and tangible things that the disclosing party has in its

possession, custody, or control and may use to support its claims or defenses”. See Fed. R. Civ. P.

26(a)(1)(A)(ii). A court may compel responses to disclosure if a party fails to make any disclosure

required by Rule 26(a) or fails to permit inspection under Rule 34. Fed. R. Civ. P. 37(a)(3)(A)-(B).

When a party fails to timely respond to disclosures or produce an item for inspection, the remedy


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available to the party who propounded the requests is to apply to the court for an order compelling

discovery. Id. “If the motion is granted—or if the disclosure or requested discovery is provided after

the motion was filed—the court must, after giving an opportunity to be heard, require the party or

deponent whose conduct necessitated the motion, the party or attorney advising that conduct, or both

to pay the movant's reasonable expenses incurred in making the motion, including attorney's fees.”

Fed. R. Civ. P. 37(a)(5)(A). Separate from the requirement to award expenses, for the violation of

a previous Order, the court may “[treat] as contempt of court the failure to obey any order...” Fed.

R. Civ. P. 37(b)(2)(A)(vii).

       A.      Failing to fully respond to initial disclosures

       REC Marine has failed to provide documents with its initial disclosures, as required by the

Federal Rules of Civil Procedure. It has now had two chances to do so, and failed on both accounts.

Despite having an “Incident Report and attachments relating to 6th November 2018 reported incident

on M/V Dustin Danos” in its possession, REC Marine has failed to produce a legible version of

same. Ex. 2. None of the referenced “attachments” were produced, nor does Richard know what

the attachments might entail. Insurance coverage has not been provided, nor has REC Marine

provided full contact information for the witnesses identified. The disclosures also identify alleged

prior interrogatory responses/deposition testimony from Richard from prior litigation, none of which

has been produced. On October 16, 2019, REC Marine was Ordered by the Court to respond to

initial disclosure requests by October 25, 2019. Despite the Court’s Order, REC Marine has still

failed to fully provide initial disclosure responses.




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        B.      Failing to provide dates for inspection of the vessel

        On October 3, 2019, counsel for Richard requested a vessel inspection of the Dustin Danos.

No dates were provided by counsel for REC Marine. On October 16, 2019, the Court ordered REC

Marine to provide dates for this inspection by October 25, 2019. Despite the Court’s Order, REC

Marine has not provided dates for said inspection.

        C.      Request for attorney’s fees and sanctions

        Under Rule 37, a court may sanction a party on motion, if that party fails to timely

supplement or correct a response to discovery that is incomplete or incorrect. Fed. R. Civ. P.

37(c)(1); Fed. R. Civ. P. 26(e). To that end, the court may award reasonable attorney's fees and costs,

caused by the party's failure to respond or supplement. Fed. R. Civ. P. 37(c)(1)(A). Rule 37 of the

Federal Rules of Civil Procedure authorizes courts to appropriately respond to and deal with parties

which have disobeyed discovery orders. Chilcutt v. U.S., 4 F.3d 1313, 1319-1320 (5th Cir. 1993).

A "court's discretion in fashioning appropriate sanctions for parties who disobey their orders is quite

broad, though not unlimited." Id.

        Rule 37(b)(2)(A) provides that if a party fails to obey an order to provide discovery, the Court

may: (1) direct that facts be established as the prevailing party claims; (2) prohibit the disobedient

party from introducing information into evidence or supporting or opposing claims or defenses; (3)

strike the pleadings; or (4) dismiss the action in whole or in part. Additionally, "the court must order

the disobedient party, the attorney advising that party, or both to pay the reasonable expenses,

including attorney's fees, caused by the failure, unless the failure was substantially justified or other

circumstances make an award of expenses unjust." Fed. R. Civ. P. 37(b)(2)(C); see also Fed. R. Civ.

P. 37(d)(1)(A)(ii), (c)(1).


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        The Fifth Circuit has noted that sanctions under Rule 37 are “predicated upon the presence

of such factors as willful disobedience, gross indifference to the right of the adverse party, deliberate

callousness, or gross negligence.” Dorsey v. Academy Moving & Storage, Inc., 423 F.2d 858, 860

(5th Cir. 1970); see also, Marrocco v. General Motors Corp., 966 F.2d 220, 224 (7th Cir. 1992)

(reasoning that “sanctions are proper upon a finding of willfulness, bad faith, or fault on the part of

the noncomplying litigant.”). While “the Federal Rules do not explicitly provide an avenue to

sanction attorneys who fail to comply with discovery orders . . . . there is no doubt” that a Court may

exercise its inherent powers to sanction discovery abuses and to discipline attorneys who engage in

obstructive behavior. Natural Gas Pipeline Co. of America v. Energy Gathering, Inc., 2 F.3d 1397,

1410-11 (5th Cir. 1993).

        REC Marine has now willfully disobeyed an Order of the Court regarding the outstanding

disclosure documents and the refusal to provide inspection dates. The gross disobedience to the

Court is enough on its face to justify a sanction for this conduct, but it has directly impacted

Richard’s ability to defend and prosecute the claims in this matter. Pursuant to the Scheduling Order

in place, Richard is required to provide written expert reports by November 13, 2019. (Rec. Doc.

12). Without a legible copy of the incident report and its attachments, or an inspection of the vessel

he has been placed in an untenable position. The Federal Rules of Civil Procedure authorize this

Court to respond to the actions of REC Marine and its counsel via a proper sanction, left in the sound

discretion of the Court.

                                                Signature follows–




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                                           Respectfully submitted,

                                           /s/ Eric J. Rhine
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                                           ATTORNEYS FOR RICHARD


                               CERTIFICATE OF SERVICE

       I hereby certify that service of the foregoing was automatically accomplished on all
counsel of record through CM/ECF Notice of Electronic Filing in accordance with the Federal
Rules of Civil Procedure on this 31st day of October, 2019.

                                                  /s/ Eric J. Rhine
                                                  Eric J. Rhine




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